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                         UNITED STATES DISTRICT COURT
                         MIDDLED DISTRICT OF FLORIDA
                                TAMPA DIVISION

SCOTT BUSH and LISA NAFIS,

                Plaintiffs,

vs.                                       Case No.: 8:07-cv-01314-T-17-EAJ


BAHIA SUN ASSOCIATES, LIMITED
PARTNERSHIP, a Florida Limited
Partnership and BAHIA SUN REALTY
CORPORATION, a Florida Corporation,

                Defendants.

__________________________________/



                                          ORDER

      THIS CAUSE is before the Court on Defendants’, Bahia Sun Associates Limited

Partnership and Bahia Sun Realty Corporation (“Bahia Sun”), Motion to Dismiss

Complaint (Dkt. 4) and Plaintiffs’ Opposition to Defendants’ Motion to Dismiss

Complaint (Dkt. 6).



                    BACKGROUND and PROCEDURAL HISTORY

      Plaintiffs filed a two-count complaint on July 26, 2007. (Dkt. 1). Count I alleges

that Bahia Sun, a developer and seller of real estate, as defined by the Interstate Land

Sales Full Disclosure Act (ILSA), 15 U.S.C. 1703, violated specific ILSA provisions
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in contracting with Plaintiffs for the interstate sale of certain Florida real estate in a

sales contract (“Contract”) executed on December 27, 2004. (Id. at 3). Plaintiffs

further assert that Defendants’ specific failure to comply with ILSA provided a basis

in federal law for rescission of the Contract. Therefore, on June 26, 2007, Plaintiffs

exercised their option to rescind as provided for in 15 U.S.C. 1703(d), but Defendants

Bahia Sun refused to recognize this rescission or refund Plaintiffs’ $53,924.00 earnest

money deposit along with applicable, interest, costs and attorneys’ fees as provided for

in 15 U.S.C. 1709. (Id. at 5).

   Plaintiffs’ complaint acknowledges that 15 U.S.C. 1702 provides, inter alia, an

exemption under the ILSA for the sale of land obligating the seller to erect a building

thereon within two years, but assert that the Contract did not meet the requirements of

this exemption. (Id. at 4). Plaintiffs assert that Defendants did not complete

construction of the residence called for by the Contract within two years and that in

July, 2007 Defendants forwarded correspondence to the Plaintiffs indicating that

Defendants were not bound to complete the construction within two years. (Id. at 4-5).

   Count II, brought in this Court under the supplemental subject matter jurisdiction

authorized by 28 U.S.C. 1367(a), alleges a Breach of Contract by Defendants Bahia

Sun for failure to complete the residence as specified by the Contract signed December

24, 2004. (Id. at 2, 6). Plaintiffs further assert that they have performed all conditions

precedent to be performed by the Plaintiffs or the conditions have occurred and that

Plaintiffs’ demands for refund of their earnest money deposit have been refused by
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Defendants. (Id. at 6).



                              STANDARD OF REVIEW

   Any defendant to a complaint may move to dismiss under Rule 12(b)(6) for “failure

to state a claim on which relief can be granted.” See Fed. R. Civ. P. 12(b)(6). A

complaint should not be dismissed for failure to state a claim unless it appears beyond

doubt that the plaintiff can prove no set of circumstances that would entitle her to

relief. Am. Ass’n of People with Disabilities v. Smith, 227 F.Supp.2d 1276, 1280

(M.D. Fla. 2002). The threshold of sufficiency that a complaint must meet to survive a

motion to dismiss is exceedingly low. Ancata v. Prison Health Services, Inc., 769 F.2d

700, 703 (11th Cir. 1985). While a court is authorized to dismiss a complaint on the

basis of a dispositive issue of law, a complaint should not be dismissed unless it

appears beyond all doubt that the plaintiffs can prove no set of facts that would entitle

them to relief. Executive 100, Inc. v. Martin County, 922 F.2d 1536, 1539 (11th Cir.

1991). A trial court is required to view the complaint in the light most favorable to the

plaintiff. Scheuer v. Rhodes, 416 U.S. 232 (1974). At this stage of litigation, a court

must accept the plaintiff’s allegations as true and dismiss a complaint only if it is clear

that no relief could be granted under any set of facts that could be proved consistent

with the allegations. Hishon v. King & Spaulding, 467 U.S. 69, 73 (1984).



                                      DISCUSSION
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   Defendants Bahia Sun seeks to dismiss Count I of the complaint on the basis of

Defendants' claim that the real estate sale at issue was exempt from compliance with

ILSA, 15 U.S.C. 1701, et seq., which otherwise requires an interstate land developer to

produce extensive materials about contracts, homeowner associations, and a detailed

property report. (Dkt. 4). In their Motion for Dismissal, Defendants assert that the

Contract at issue was excepted by a statutory exemption in 15 U.S.C. 1702(a)(2) which

applies to any residential sale under a contract obligating the seller to construct a

residence within a period of two years. (Id. at 2). Defendants further assert that the

relevant Contract language covering the expected completion date of the residence is

dispositive of the ILSA exemption qualification issue. (Id. at 2). Quoting a portion of

the Contract identified as Exhibit A of the complaint (Dkt. 1), Defendants cite the

specific language which they purport creates an obligation to complete construction

within two years. (Dkt. 4 at 3).

   The complaint alleges that Plaintiffs signed the Contract on December 27, 2004,

with Bahia Sun, at which time Plaintiffs tendered $53, 924.00 as earnest money and

Bahia Sun agreed to construct a residence within a period of two years. (Dkt.1 at 3-5).

However, Plaintiffs allege that not only did Bahia Sun fail, in fact, to complete the

construction within two years, but, further, that when Plaintiffs attempted in June,

2007, to revoke the Contract and obtain a refund of earnest money as permitted by 15

U.S.C. 1703(d), Defendants responded with correspondence asserting that the Contract
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did not represent a binding obligation for completion within two years. (Id. at 4-5).

Therefore, the substance of Plaintiffs’ claim in Count I is that the Defendants failed as

required to comply with the provisions of ILSA, 15 U.S.C. 1701, et seq. and that the

Contract language was not intended by the Defendants to represent a binding

commitment for construction within two years and Defendants were not, therefore,

exempt under 15 U.S.C. 1702. (Id. at 3-5). Plaintiffs further claim that as a result of

Defendants’ failure to comply with ILSA, Plaintiffs are entitled to certain remedies

specified in 15 U.S.C. 1703 and 1709. (Id. at 5-6).

   Defendants Bahia Sun, in their Motion to Dismiss rely upon language in the

Contract implying a commitment for construction within two years with certain

reservations and case authority defining the circumstances in existence at the time a

purchaser signs a sales contract as controlling eligibility for an ILSA exemption. (Dkt.

4 at 3-4) (citing Winter v. Hollingsworth Properties, Inc., 777 F.2d 1444, 1450 (11th

Cir. 1985). While this appears to the Court to be an accurate interpretation of Winter

v. Hollingsworth Properties as to that specific point of law, the point of dispute raised

in Count I of the complaint is whether or not the Contract here represented a binding

commitment for construction within two years, triggering the ILSA exemption. (Dkt. 1

at 4-5). In reversing the district court’s grant of summary judgment for a seller in

Winter v. Hollingsworth Properties, the Eleventh Circuit was defining the time of sale

in relation to the separate “Improved Lot” Exemption provided by ILSA as existing at
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the time the sales contract was executed. Winter v. Hollingsworth Properties, Inc., 777

F.2d at 1450. In other words, the building must exist at the time the sales contract is

consummated, not at the time of final settlement, for a seller to qualify for the

Improved Lot Exemption. (Id.).

   Plaintiffs have asserted that they can, and will be able to, produce facts and

circumstances attendant to the Contract sufficient to prove that the Contract was not

intended by Defendant Bahia Sun to be a binding commitment for construction of

Plaintiffs’ residence within the two-year time frame justifying the relevant ILSA

exemption. (Dkt. 1 at 4-5). Notwithstanding some Contract language favorable to the

Defendants, under the applicable standard of review at this stage of this litigation, the

Court must accept the Plaintiffs’ allegation in Count I as true.

       Defendants Bahia Sun also seek to dismiss Count II of the complaint, a breach

of contract claim filed under the Court’s supplemental subject matter jurisdiction.

Plaintiffs have alleged that under the terms of the Contract signed December 27, 2004,

Defendants agreed to construct a residence by December 27, 2006, and agreed to

certain other terms which Defendants failed to honor as agreed (Dkt. 1 at 6-7).

Plaintiffs have further alleged that they fulfilled their contractual obligations and paid

$53,924.00 earnest money deposit as consideration, which Defendants failed to return

as agreed under Contract terms. (Id.). Plaintiffs claim to have incurred additional

damages and costs due to Defendants’ breach of the Contract and which are
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recoverable by its terms. (Id.). This Court must accept these allegations as true for its

analysis of a Motion to Dismiss and must only grant such a motion if no relief could

be granted under any set of facts that could be proved consistent with the allegations.

Hishon v. King & Spaulding, 467 U.S. 69, 73 (1984). Under this standard and at this

time, it is clear that Count II should not be dismissed.

                                       Conclusion

   Counts I and II of Plaintiffs’ complaint properly make claims for relief under

applicable federal law and supplemental subject matter jurisdiction. The

representations made by the Defendants’ Motion to Dismiss (Dkt. 4) are insufficient to

overcome the presumptions enjoyed by the Plaintiffs at this stage of the proceedings.

Accordingly, it is




   ORDERED that Bahia Sun’s Motion to Dismiss Complaint (Dkt. 4) be DENIED.

Bahia Sun has ten days from this date to answer the complaint.

   DONE AND ORDERED in Chambers at Tampa, Florida, this 22nd day of
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February, 2008.




Copies to: All parties and counsel of record
